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         By ECF                                                                    March 8, 2024
         Honorable Colleen McMahon
         United States District Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                 In Re: New York City Policing During Summer 2020 Demonstrations,
                        No. 20 Civ. 8924 (CM) (GWG)
                        This filing is related to all cases

         Your Honor:

                I am a Senior Counsel in the Office of the Honorable Sylvia O. Hinds-Radix, Corporation
         Counsel for the City of New York, and one of the attorneys assigned to the above-captioned
         matters. Defendants write in response to the Police Benevolence Association’s letter motion
         requesting a stay pending appeal of the Court’s February 7, 2024 Decision and Order. Defendants
         take no position with regard to the PBA’s motion requesting a stay pending appeal.

                 By way of background, on February 27, 2024, Defendants did move for a brief stay of the
         implementation of the Settlement Agreement until such time as the PBA filed a Notice of Appeal.
         The PBA has now field their Notice of Appeal. While Defendants maintain the positions taken in
         their February 27th letter regarding the implementation of the Settlement Agreement, they take no
         position with regard to the PBA’s motion requesting a stay pending appeal. Defendants do not
         believe that the PBA has grounds to appeal the Court’s February 27, 2024 Decision and Order.


                                                             Respectfully submitted,


                                                             /s/ Omar J. Siddiqi
                                                             Omar J. Siddiqi
                                                             Senior Counsel
                                                             Special Federal Litigation Division
         cc:     ALL COUNSEL (via ECF)
